Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 1 of 8




                    EXHIBIT 16
                      Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 2 of 8
 XCELLENCE IN WIRED COMMS



Blade Management Controller Rides
FPGA Embedded Processor
CloudShield builds powerful, flexible solution around Xilinx PowerPC 440 running embedded Linux.

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                                                                      The trend toward converged networks for
                                                                      both telecom and enterprise simplifies net-
                                                                      work infrastructure and dramatically low-
                                                                      ers costs while providing scalable, open
                                                                      platforms. Blade platforms are achieving
                                                                      network convergence using Ethernet, scal-
                                                                      ing from 1G/10G to 40G/100G, with
                                                                      blade-management controllers keeping
                                                                      pace by using standards-based Intelligent
                                                                      Platform Management Interfaces (IPMI).
                                                                         To help drive network convergence into
                                                                      the mainstream market, our design team
                                                                      here at CloudShield Technologies architect-
                                                                      ed a flexible blade-management controller
                                                                      by integrating the PowerPC® 440 found in
                                                                      the Virtex-®5 with standard and custom
                                                                      peripheral cores, creating multiple embed-
                                                                      ded-system configurations with a common
                                                                      hardware design. This FPGA-based design
                                                                      took advantage of a unique and flexible fea-
                                                                      ture set that included system reconfigura-
                                                                      tion, powerful embedded processors,
                                                                      intellectual-property (IP) cores and embed-
                                                                      ded Linux firmware for chassis manage-
                                                                      ment services unique to the resident blade.
                                                                                      WSOU-ARISTA001546
14    Xcell Journal                                                                                               Third Quarter 2009
                     Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 3 of 8
                                                                                                                  XCELLENCE IN WIRED COMMS




   Xilinx Platform Studio cores allowed us
to quickly instantiate UARTs, I2C buses,              CloudShield Deep Packet Inspection
memory interfaces, Ethernet MAC/PHY
                                                                                                                                         Security
combinations and a system monitor for volt-                                                                                              • DDoS Mitigation
age and temperature oversight. We easily                                                                                                 • DNS Protection
                                                                                                                                         • BGP Protection
created custom cores to provide novel sys-           Service Control
                                                     • Traffic Prioritization                                                            • Botnet Protection
tem acceleration, offloading real-time tasks.        • Bandwidth Usage Control
                                                                                    Service                    Security                  • Content Filtering
Our application implemented standards-               • Network Flow Analysis        Control                                              • Native IPv6 Security

based IPMI and chassis management                    • L2-L7 Access Analysis
                                                     • P2P Control & Cache
firmware running over embedded Linux, for            • Tiered Services & QoS
a robust and open software infrastructure.

Deep-Packet Processing                                                                         Transport
                                                                                                                      Transport
Our next-generation content-processing                                                                                • IPv4 & IPv6 Migration (Transition, Stacks)
                                                                                                                      • Multicasting & Acceleration (IPTV, VoIP, P2P)
platform is a highly programmable, modu-                                                                              • Content-Based Routing (User Services)
lar, high-speed hardware system capable of
handling a wide range of network applica-
tions and multiple simultaneous func-
tions, as shown in Figure 1. The chassis              Figure 1 — Next-generation deep-packet inspection processing system enables convergence
                                                        of service control, security and transport functions into integrated services and capabilities.
integrates deep-packet processor blades,
application-services processor blades,
redundant chassis management modules
and an array of interface modules that can      plane Gigabit Ethernet functions with hard               available power supplies, the active CMC
be deployed with different network inter-       trimode Ethernet media-access controllers                regulates power demand for the entire
face options and configurations.                (TEMACs) as well as data plane 10-Gbit                   chassis by allowing the IMCs and PMCs
    Chassis and blade management are under      Ethernet using the Xilinx 10GEMAC IP                     to power on only when capacity remains.
the control of redundant chassis manage-        core with integrated XAUI (using                         The fan tray and power supply modules
ment modules using a variant of the             RocketIO™ serial transceivers).                          use a chassis I2C bus where the active
Intelligent Chassis Management Bus                                                                       CMC ensures sufficient power and cool-
(ICMB) that extends IPMI intelligent plat-      Blade Management Services                                ing for the entire chassis.
form management to meet highly secure           Our chassis management solution is a hier-                   Once the CMC detects a new blade in
requirements. Each blade or module of this      archical structure, with the IMC and PMC                 the chassis, it uses a discovery protocol to
bus—except for the power supply module—         entities operating in much the same way as               locate and identify each blade. The discov-
contains an IPMI management controller to       a standard IPMI baseboard management                     ery protocol exchanges IPMI messages to
share environmental monitoring and status       controller (BMC) for their respective mod-               retrieve serial number, model number and
with the chassis management module.             ule or blade. For each blade, the controllers            inventory for the blade or module, and
    Sharing common requirements, our            use IPMI commands to monitor voltage                     then sends a command with power permis-
family of management controllers consists       and temperature, provide a power control                 sions if the blade can be correctly identified
of chassis management controllers               interface, enable blade network interface                and power is available. The CMC monitors
(CMCs), processor management con-               configuration and allow interrogation of                 events from each IMC or PMC to detect
trollers (PMCs) on processor blades and         manufacturing data.                                      warning and critical conditions, collecting
interface management controllers (IMCs)            As the center of chassis management,                  and storing them in an event log.
on interface modules, as shown in Figure 2.     the CMC shares common IPMI BMC                               To provide a rich user feature set, our
    The chassis’ extensive networking fea-      board-level features with the IMC and                    primary user interface to the chassis man-
tures support four control-plane Gigabit        PMC, along with additional higher-level                  agement system is through a window man-
Ethernet links to each blade. The data          chassis management functionality. The                    agement or command line interface (WMI
plane has 16 high-speed lanes to each blade     dual redundant CMCs operate in an                        or CLI) running on an application proces-
that provide four 10-Gbit Ethernet links        active/standby capacity with automatic                   sor blade. The application processor blade
using XAUI (4 x 3.125 Gbits/second).            health monitoring and failover. This chas-               either occupies a chassis slot or remotely
Future bandwidth scalability exists, with       sis management capability allows the                     communicates through a control-plane
each lane capable of 10GBASE-KR (single         CMC to discover, inventory and provide                   network connection to the chassis manage-
lane, 10.3125 Gbps). We used Xilinx®            power permissions for all blades and mod-                ment controller. The CMC autonomously
Virtex-5 FPGAs to implement control-            ules. To prevent oversubscription of the                 provides chassis oversight for health and
                                                                                                                         WSOU-ARISTA001547
Third Quarter 2009                                                                                                                             Xcell Journal            15
                          Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 4 of 8
 XCELLENCE IN WIRED COMMS




                               Fan Tray                                                             Interface Switch Modules
                                            Power Supplies            Redundant Radial RS 485


                                                                                                         IMC




                                      CMC                                                                IMC


               Chassis Management
                 Module (Active)
                                                                                                 Deep Packet Processor Blades
                                      CMC

                                                                                                  PMC
                Chassis Management
                 Module (Standby)




                                                                                                 PMC
                                                                                                 -A2




                                                                                                Application Processor Blade




                                                    Figure 2 – Secure ICMB chassis management system


environmental monitoring, presenting this               of a failure, the standby CMC can take over,           to DDR memory and then jumps to the U-
information through front-panel LEDs,                   with its independent set of radial RS485               Boot entry point.
while application-specific user control                 links, to keep the chassis operational.                   Taking advantage of the features of the
comes from the application processor                                                                           Virtex-5 FX30T FPGA, CloudShield’s
blade. This same blade interrogates all                 Management Controller Hardware Architecture            team easily assembled an advanced embed-
blades and modules, including the CMC,                  Sharing common hardware functionality,                 ded system, integrating the PowerPC 440,
to provide the user with environmental as               our controllers include FPGA multiboot                 DDR2 memory controller, multiport
well as operational health and status. The              and fallback capability, PowerPC440                    memory controller for flash, Ethernet
CMC contains an RS485 IPMI proxy serv-                  processor, SDRAM and NOR flash memo-                   MAC/PHYs, system monitor and other
ice to pass application processor blade                 ry configuration, interrupt controller, serial         standard cores with our custom core.
commands on the control plane through to                console UART, ICMB RS485 custom core,                     By leveraging the Virtex-5’s multiboot
the RS485 IPMI path to the target blade.                Gigabit Ethernet links, system monitor                 reconfiguration, the system achieves true
    Each CMC has five independent point-                sensors and local I2C buses.                           in-system FPGA upgradability without a
to-point RS485 links to each blade. Unlike                 Our controller family is uniquely archi-            processor to manage bitstream loading.
a bus topology, this architecture provides              tected to share a common hardware plat-                Our external flash supports both “golden”
increased security from eavesdropping,                  form using a single microprocessor                     and “upgrade” bit files located at addresses
minimizes contention and increases reliabil-            hardware specification file that defines the           the revision select pins determine. The
ity, in that a failing blade cannot disrupt             embedded-processor core instantiations,                FPGA’s ability to fall back and reconfigure
communication to other blades. Our                      connectivity and parameterization. Our                 using the golden image in the event of an
redundancy implementation requires the                  mini boot loader resides in internal block             upgrade image failure was essential to our
standby CMC to constantly monitor the                   random-access memory (BRAM), which                     design objective of a configurable high-
health of the active CMC. Upon detection                copies the U-Boot boot loader from flash               availability system.
                                                                                                                           WSOU-ARISTA001548
16        Xcell Journal                                                                                                                        Third Quarter 2009
                     Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 5 of 8
                                                                                                         XCELLENCE IN WIRED COMMS




    Post-configuration, the PowerPC 440           sion, scratch, and internal and external        and offered easy selection of IP interface
core operates at 400 MHz, the crossbar            GPIO registers.                                 services and user logic interfaces. It also
and MPLB bus at 133 MHz, TEMACs at                   We also used the CIP wizard to build         generated the bus functional model needed
125 MHz and DDR2 at 266 MHz. Our                  our special-purpose custom IP. The wizard       for simulation. Our novel PicoBlaze™-
constructed hardware system covered the           created the necessary files (MPD, PAO,          based coprocessor pcore is described later
superset of functionality needed among            HDL templates) and directory structure,         in greater detail.
the CMC, IMC and PMC variants as
shown in Figure 3. The flash contains
enough space for multiple application pro-
                                                                                               custom                custom
grams, including the CMC, IMC and                                                             CMB Pblaze              GPIO
PMC configurations.                                                 PMC
                                                                    UART
    We were able to rapidly craft the base sys-
tem thanks to the wide variety of standard                          PMC                    CMC                       TEMAC
                                                                    UART                 5VFX30T                      GMII
peripheral cores available in the IP library.
We selected cores as complex as Gigabit                             PMC
                                                                    UART
Ethernet (with choices of 1000BASEX,
SGMII and GMII PHY interfaces) and as                             Console
                                                                                        PPC440 CPU
                                                                   UART
simple as traditional 16550 UARTs to meet
                                                                    User                                              Local
our system requirements.                                                         JTAG       PLB46        INTC
                                                                    UART                                               I2C
    Key requirements for a blade controller
                                                                  SysMon                   PPCMC         Boot       Remote
involved chip- and board-level monitor-                                         MPMC
                                                                   ADC                      DDR2        BRAM          I2C
ing and alarms for voltages and tempera-
tures. We took advantage of an integrated
                                                                                               custom                custom
system monitor, simply instantiating the                                                      CMB Pblaze              GPIO
SYSMON_ADC pcore from the standard
IP library. The system monitor is a hard
macro on Virtex-5 devices that contains a                                                  IMC                       TEMAC
                                                                                         5VFX30T                      GMII
10-bit, 200-kilosample/s analog-to-digital
                                                                                                                     TEMAC
converter, supporting both on-chip and
                                                                                                                      SGMII
off-chip monitoring of supply voltages
                                                                  Console                                            TEMAC
and temperatures.                                                  UART
                                                                                        PPC440 CPU
                                                                                                                      SGMII
    Off-the-shelf IP and the availability of
                                                                                                                      Local
an Avnet Virtex-5 FXT evaluation kit that                                        JTAG       PLB46        INTC
                                                                                                                       I2C
used the XC5VFX30T FPGA allowed us to
                                                                  SysMon                   PPCMC         Boot       Remote
rapidly prototype our design and kick-start                                     MPMC
                                                                   ADC                      DDR2        BRAM          I2C
the software development effort right out
of the box.                                                                                    custom                custom
    With the software effort under way, we                                                    CMB Pblaze              GPIO
then created custom IP cores to satisfy a
number of needs. While off-the-shelf
                                                                                           PMC
pcores might meet functional require-
ments, multiple instances of simple pcores                                               5VFX30T
                                                                                                                     TEMAC
such as GPIO can result in excessive                                                                                  SGMII
Processor Local Bus (PLB) loading as well
                                                                  Console                                            TEMAC
as higher slice utilization. Rather than                                                PPC440 CPU
                                                                   UART                                               SGMII
incur the expense of multiple IP interfaces,
                                                                                                                      Local
we built a single super-GPIO module with                                         JTAG       PLB46        INTC
                                                                                                                       I2C
the help of the Create Import Peripheral
                                                                  SysMon                   PPCMC         Boot       Remote
(CIP) wizard integrated into XPS.                                               MPMC
                                                                   ADC                      DDR2        BRAM          I2C
Amortizing a single IP interface over mul-
tiple GPIO registers, we collapsed large                             Figure 3 – Common hardware architecture for CMC (top),
numbers of internal and external registers                                       IMC (center) and PMC versions.
into a single custom pcore including revi-
                                                                                                                WSOU-ARISTA001549
Third Quarter 2009                                                                                                            Xcell Journal   17
                         Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 6 of 8
 XCELLENCE IN WIRED COMMS




      The embedded Linux operating system could not natively
       guarantee interrupt latency. Our solution leveraged the
           capabilities of the PicoBlaze 8-bit sequencer.
IPMI Messaging                                   front-panel user connectivity, debug con-       with BRAM instruction store, registers,
Our chassis management controller with           soles and proxy UARTs to CPUs on                communication FIFOs, UARTs and timers.
its corresponding system interfaces is           processor blades.                               After initialization, the PowerPC holds the
shown in Figure 4. We use the custom                 The real-time protocol requirements of      PicoBlaze in reset, loads code into the
ICMB coprocessor pcore for IPMI mes-             the Intelligent Chassis Management Bus          PicoBlaze program BRAM and then
saging to the processor-management and           presented us with a problem in that the         removes reset, activating the coprocessor.
interface-management blade controllers.          embedded Linux operating system could              We wrote our PicoBlaze code in the
GPIOs monitor and control the front              not natively guarantee interrupt latency.       form of a state machine to monitor the
panel, backplane, redundancy and inter-              Our solution uses a custom ICMB pcore       transmit FIFO and control registers, imple-
locks, as well as internal registers, while      with the PicoBlaze 8-bit sequencer as an        ment the collision-avoidance and back-off
TEMACs are used for control-plane                ICMB data-link and physical-layer               algorithms, and manage five UARTs.
Ethernet switch management. Our I2Cs             coprocessor offloading the PowerPC. This           The TX FIFO passes 8-bit data from the
read the local module EEPROM, and                underappreciated resource (see Xcell Journal,   PowerPC to the PicoBlaze for transmission
handle remote monitoring of chassis fans         issue 67, page 53, “A Hidden Gem:               on the ICMB bus. To transmit a packet, the
and power supplies. UARTs take care of           PicoBlaze IP”) is shown in Figure 5, coupled    PowerPC writes the packet into the TX


                                                                                  PMC Slot 1

                                                                                 PMC Slot 2

                                                                                  PMC Slot 3

                                                                                  IMC Slot 4
                                              IPMI Control
                                               Messages                           IMC Slot 5


                                                                                                 Front panel buttons /LEDs
                                                                custom              custom          Backplane monitor
                                                               CMB Pblaze            GPIO                Interlock
                                  PMC
                                                                                                        Redundancy
                                  UART
                                  PMC                      CMC                      TEMAC            Gigabit Ethernet
               Backplane
                                  UART                   5VFX30T                     GMII                switch
                                  PMC
                                  UART
                                 Console
                   Debug                               PPC440 V5 CPU
                                  UART
              Front Panel         User                                               Local         FRU
                                                JTAG         PLB46     INTC
                 RJ-45            UART                                                I2C        EEPROM

                Blade            SysMon                   PPCMC        Boot         Remote         I2C Control/Monitoring
                                               MPMC
               Voltage            ADC                      DDR2        BRAM           I2C         for fans, power supplies
             Temperature

                                               FLASH
                                                             DDR2
                                               Config
                                                             DRAM
                                               SW app
                                                             64MB
                                              Upgrades



                                                         Figure 4 – CMC system interfaces

                                                                                                             WSOU-ARISTA001550
18       Xcell Journal                                                                                                          Third Quarter 2009
                            Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 7 of 8
                                                                                                                                         XCELLENCE IN WIRED COMMS




                                                                                                                                   actions. As a result, we created and modi-
                                                                                                                                   fied our simulation for the custom pcore
                                                                   PLB v46
                                                                                                                                   and got it running in a matter of hours.
                                                                                                                                      We used the output of the PicoBlaze
                                                                                                                                   assembler to initialize the program BRAM.
                                                                          Slave
                                                                                                                                   Next, using the Bus Functional Language
                                                                       Attachment                                                  to describe PLB bus transactions, we gener-
                                                                                                                               I   ated a PicoBlaze reset, sent data to the TX
                                                                                                                               P
                                              IP InterConnect (IPIC)                                                               FIFO and wrote to the control register to
                                                                                                                               I
                                                                                                                               F   transmit data on a channel. Looping back
               Interrupt
                                       Register I/F                                     Address Range Decode
                                                                                                                                   transmit and receive ports was a simple way
                Control
                                                                                                                                   to verify the operation of the receive chan-
                                                                                                                                   nels and RX FIFO.
                                                                                                                               U
                                 Status Reg                  Ctl Reg
                                                                                                                               S   Firmware Architecture
                                                                                                                               E
                                                                              RX FIFO        TX FIFO
                                                                                                                               R
                                                                                                                                   There are many embedded-OS choices
                                                                                                           Program                 available for the PowerPC 440 and, specif-
                                              PBlaze Reset




                                                                                                            BRAM               L
                                                                                                                               O   ically, the Xilinx hard PPC440 core. All of
                                                                                                                               G
                                                                                                                               I   the management controllers required real-
                                                                                                                               C   time performance, a robust network stack
                                                                                                               Read



                                                                                                                                   and extensibility for our custom peripher-
                                                                                                                                   als. Our choice of embedded Linux
                StartUp Timer
                                                                                                                                   allowed us to take advantage of existing
                                                                          Kcpsm3 (PicoBlaze )
                                                                                                                               P
                                                                                                                                   open-source resources, utilities, optimiza-
    C          Receive Timer                                                                                                   I   tions and support.
                                                                                                                  Uart Clock   C
    U
    S                                                                                                                          O       After reset, the PowerPC boot
               BackOff Timer
    T                                                                                                                          B   sequence begins from reset vector space
    O                                                                               Receive FIFOs /UARTs                       L
    M                Gap Timer                                                                                                 A   within a small internal BRAM. Mapped
                                                                 Bbfifo        Bbfifo       Bbfifo     Bbfifo         Bbfifo   Z
                                                                 16x8          16x8         16x8       16x8           16x8     E   into this area is a small mini boot loader
                 Transmit            Kcuart                      Kcuart        Kcuart       Kcuart     Kcuart         Kcuart       (12 kbytes), which looks for a valid U-
               Enable Control          tx                          rx            rx           rx         rx             rx
                                                                                                                                   Boot image at an “upgrade” or “golden”
                                                                                                                                   location within the NOR flash. Since the
                                                                                                                                   golden image is programmed only at the
                                      Figure 5 – Custom ICMB PicoBlaze pcore                                                       factory during the manufacturing process,
                                                                                                                                   this choice eliminates the possibility of a
                                                                                                                                   failure during flash programming of a new
FIFO, followed by a write to the control                                        5-bit status (start/end of packet, error indi-     U-Boot version. Once it detects and vali-
register with a “start” bit and channel num-                                    cations, debug information) and 3-bit              dates the proper U-Boot image, the
ber. Using a common transmit UART and                                           channel number information from the                PowerPC loads it into SDRAM and exe-
individual transmit enables, the PicoBlaze                                      PicoBlaze to the PowerPC. The PowerPC              cutes it. U-Boot then loads the proper
enables a single RS-485 transceiver for data                                    then demultiplexes packet data and, when           Linux image files and passes control for
transmission. Upon completion, the                                              valid, sends it up to the servicing agent. We      the final time. At this point, a fully con-
PicoBlaze indicates success or failure by                                       included additional trace and state transi-        figured Linux kernel loads and begins our
writing to the status register and generating                                   tion capability in the receive channel in          application-specific processes.
an interrupt to the PowerPC.                                                    order for the PowerPC to print debug mes-              We considered several options for the
   Packets come in on multiple UARTs                                            sages to the console.                              boot sequence during the design process.
simultaneously. The PicoBlaze maintains                                            We used the CIP wizard to create a bus          For example, the mini boot loader could
individual state information for each chan-                                     functional model, enabling us to generate          have mapped the NOR flash into the
nel. Indications of start/end of packet and                                     bus stimulus and verify the operation of           reset vector area and eliminated the
data bytes are placed in the RX FIFO along                                      the peripheral core without needing to cre-        BRAM. This would have saved some
with the channel number, and the                                                ate an extensive test bench or full-system         BRAM, but the processor would then be
PowerPC gets an interrupt when data is                                          simulation. The wizard made it easy to             dependent on a valid NOR flash part and
available. The RX FIFO passes 8-bit data,                                       generate, respond to and analyze bus trans-        image, which could be corrupted during a
                                                                                                                                               WSOU-ARISTA001551
Third Quarter 2009                                                                                                                                          Xcell Journal    19
                          Case 6:20-cv-01083-ADA Document 34-19 Filed 08/16/21 Page 8 of 8
 XCELLENCE IN WIRED COMMS




failed flash attempt. Similarly, a case         a barrier if only Windows-based machines         CMC and chassis health requests. The
could be made for eliminating U-Boot by         were available, there are now a few              RS485 proxy application translates pack-
loading and executing Linux directly.           Windows virtual machines that run                ets destined for other blades in the chassis
While this could be a much more direct          Linux within the Windows environment.            into ICMB packets and sends them over
boot sequence, we found the features of         The added benefit is that once we set up         the RS485 link to the appropriate destina-
U-Boot during the development phase to          a build machine, we could back up the            tion. Blade management packets allow the
be extremely valuable for prototype bring-      virtual-machine disk image or replicate it       user to obtain chassis status, such as power
up and debugging.                               for use on other development machines.           subscription, as viewed by the CMC.
    Our initial design challenge was to         We selected Sun xVM VirtualBox as a              Some additional minor applications for
locate and choose the correct open-source       lightweight, reliable and easy-to-use vir-       redundancy and front-panel serial console
trees. DENX Software Engineering                tual machine that will run many different        interaction complete the CMC.
(www.denx.de) has extensively developed         OS types, including Linux.                           Our IMC and PMC were very similar to
the Das U-Boot boot loader for a variety           While the Linux kernel provided an            the CMC firmware, except that we replaced
of embedded-processor boards. But while         excellent foundation, the actual drivers and     the blade-management application with a
it directly supports the MicroBlaze,            applications handled the entire workload         switch- or processor-management applica-
PowerPC 405 and PowerPC 440 proces-             specific to our application. The Xilinx I2C      tion appropriate for that blade.
sor cores, the DENX version does not
include the latest patches, board support
                                                                                       Applications
or drivers for some of the XPS IP cores
that come with the EDK.                               BMC functions         RS485 Proxy             Blade mgmt            Busybox
    Therefore, we chose to use the Xilinx
development branch of the U-Boot tree                                                    IP stack
(xilinx.wikidot.com), which contains the
latest changes and the drivers for the I2C,                                            Linux kernel
ENET and LLTEMAC, providing addi-
                                                         I2C driver       LLTEMAC driver            ICMB driver        Linux drivers
tional functionality without starting from
scratch. Xilinx frequently updates its devel-         Environmental         Control Plane             RS485
opment branch from the original DENX                                          Ethernet
master tree, submitting changes upstream
for acceptance into the DENX tree.                                          Figure 6 – CMC firmware architecture
    Having selected the Xilinx U-Boot
tree, we looked at the main Linux tree
(www.kernel.org) and its support for the        and LLTEMAC drivers connect the Linux            Architect, Build, Verify, Deliver
Xilinx drivers. We similarly concluded          IP stack to the hardware, and the                The key to rapidly architecting, develop-
that we obtained more working function-         CloudShield ICMB driver hooks the cus-           ing and delivering complex embedded-
ality when choosing the Xilinx-main-            tom PicoBlaze IP core into the Linux driv-       system solutions is “right-sizing” the
tained Linux development branch (also at        er subsystem. We used Busybox as a               choices, efforts and methodology. The
xilinx.wikidot.com), which included the         standard Linux application, and added            combination of powerful embedded
latest changes that may not necessarily be      three new CloudShield applications for           processors in FPGAs, off-the-shelf IP and
in the main Linux tree.                         chassis management by the CMC, as                accelerated design and verification of
    A potential drawback of using the           shown in Figure 6.                               custom IP enabled us to create multiple
Xilinx-maintained trees is that there is lag       Our RS485 proxy application connects          embedded-system configurations with a
time in terms of synchronization with the       to a standard IP port and communicates           common hardware design. The benefits
main trees, and they are officially devel-      over the control-plane Ethernet, decoding        of using Linux and an integrated devel-
opment-quality branches. Nevertheless,          each packet. Packets received from our           opment environment freed us to focus on
we selected the Xilinx trees to support the     WMI/CLI on the application processor             the target application while utilizing the
LLTEMAC cores and newer features in             blade may be addressed to three different        available open-source services, drivers
our design.                                     targets in the system: BMC functions on          and libraries.
    In order to build U-Boot and Linux,         the chassis management module board,                Indeed, the ability to rapidly alter inter-
we needed a Linux distribution and              CMM blade management for the chassis             nal FPGA embedded architecture, easily
machine to run the scripts and tools that       or other blades within the chassis. All          deploy in-system upgrades and exploit new
cross-compile, link and build the               baseboard management controller func-            hardware-software trade-off boundaries is
PowerPC executable. While this could be         tionality runs over the I2C buses, handling      transforming embedded-system design.
                                                                                                              WSOU-ARISTA001552
20        Xcell Journal                                                                                                            Third Quarter 2009
